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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION

SARASOTA WINE MARKET, LLC,                   )
d/b/a MAGNUM WINE AND                        )
TASTING, et al.,                             )
                                             )
                          Plaintiffs,        )
                                             )
v.                                           )     Case No. 4:17-cv-2792 HEA
                                             )
Michael L. Parson, et al.,                   )
                                             )
                          Defendants.        )

               DEFENDANTS’ RESPONSE TO PLAINTIFFS’
              NOTICE OF ACTION BY U.S. SUPREME COURT

         Defendants state that this Court should proceed with ruling on the

motion to dismiss Plaintiff’s Amended Complaint. [Doc. #37] The issues in

Missouri are not directly related to the United States Supreme Court’s review

of Byrd v. Tennessee Wine & Spirits Assoc., 883 F.3d 608 (6th Cir. 2018).

Missouri has the right to limit retailers who are licensed to sell alcohol in this

state.

         The Supreme Court’s decision in Byrd will not be made until sometime

in 2019 or later. There is no reason for this district court to hold up its decision

based on a certiorari question in the U. S. Supreme Court that has not been

briefed, much less argued.
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      Defendants request that this court proceed with its decision on their

Motion to Dismiss the Amended Complaint.

                                           Respectfully submitted,

                                           JOSHUA D. HAWLEY
                                           Attorney General

                                           /s/ Katherine S. Walsh
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                                           Attorneys for Defendants

                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 4th day of October, 2018, a
copy of the foregoing was filed via the Court’s electronic filing system and was
served by operation of the CM-ECF system on all counsel of record.

                                           /s/ Katherine S. Walsh




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